         Case 1:21-cr-00083-TNM Document 102 Filed 02/03/23 Page 1 of 1




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                        :
                                                 :
                                                 :
                v.                               :       Case No.:        1:21-cr-00083-TNM
                                                 :
                                                 :
        Brandon Fellows                          :
                                                 :
                          Defendant.             :


                                   NOTICE OF APPEARANCE

        The United States of America, by and through its attorney, the United States Attorney for the

District of Columbia, informs the Court that that Assistant United States Attorney David Perri, telephone

number (304) 234-0100 and/or email address dperri@usdoj.gov, is now assigned as co-counsel in the

above captioned matter.


                                                         Respectfully submitted,

                                                         MATTHEW M. GRAVES
                                                         United States Attorney
                                                         D.C. Bar No. 481052




                                                 By:     /s/ David Perri
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